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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO. 03-21063-CIV-ALTONAGA

DAVID ALLEN,
Plaintiff

VS. to

CITY OF MIAMI, a Municipal corporation
in Miami-Dade County, State of Florida,
POLICE OFFICER LEO TAPANES, and
POLICE OFFICER PABLO CAMACHO,
LT. ISRAEL GONZALEZ, OFFICER
CARLOS AVILA, OFFICER JACK CALVAR,
OFFICER NELSON ANDREU, and MAJ. CHRISTMAS
individually and as agents of the City of
Miami and the City of Miami Police Department,
all jointly and severally,

Defendants.

 

/

 

PLAINTIFF’S MOTION FOR SUBSTITUTED SERVICE

NOW COMES the Plaintiff by and through his undersigned counsel and moves this
Honorable Court to grant Plaintiff’s Motion for Substituted Service as such relates to Defendants
Carlos Avila, Jack Calvar and Israel Gonzalez.

That the captioned cause of action was filed on April 29, 2003, said cause alleged in
pertinent part that the individual Defendants and the City of Miami violated the Plaintiff's
Constitutional rights under 42 U.S.C. Section 1983.

That all Defendants have been served and have responded pursuant to the Federal Rules
of Civil Procedure except Defendants Avila, Calvar and Gonzalez.

That the three Defendants Avila, Calvar and Gonzalez have not been served for the
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reasons set forth on the attached affidavits incorporated herein by reference and marked as
Exhibit 1.

That counsel in the name of Henry J. Hunnefeld, Esq., has appeared for the City of Miami
and individual defendants Camacho, Christmas and Andreu.

That Plaintiff's counsel has sought concurrence and/or cooperation from Mr. Hunnefeld,
however, he indicated that concurrence or cooperation shall not be forthcoming for the reasons
set forth in the attached Memorandum of Law.

That Plaintiff is before this Court requesting substituted service in a form reasonably
calculated to advise the individual Defendants Avila, Calvar and Andreu of this lawsuit including
but not limited to: (i) regular and certified mail at the last know address, (ii) regular mail c/o of
the City of Miami Police Department, (iii) regular service upon the Chief of Police for the City of
Miami, (iv) posting, (v) publication, (vi) other methods as might be suggested by the Court.

WHEREFORE, the Plaintiff respectfully requests this Court enter an order for substituted

service as such relates to individual Defendants Avila, Calvar and Gonzalez.

MEMORANDUM OF LAW

The above captioned cause of action is one wherein the Plaintiff alleges that the
individual Defendants and the City of Miami violated his Constitutional rights. All Defendants
have been served except for Defendants Avila, Calvar and Gonzalez.

Personal delivery of summons within the jurisdiction is a classic means of giving notice,
while other means, such as service under long-arm statutes or constructive and substituted

service are permissible so long as the particular form of service used is reasonably calculated to
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give the defendant actual notice of the proceedings and an opportunity to be heard. Mullane y.

Central Hanover Bank & Trust Co., 339 U.S. 306, 94 L.Ed. 865, 70 S.Ct. 652 (1950), Jacobs v.

 

Roberts, 223 US 261, 56 L.Ed 429, 32 S.Ct. 303 (1912); Milliken v. Meyer, 311 U.S. 457, 85
L.Ed 278, 61 S.Ct. 339 (1940). It is the position of the Plaintiff that this Court can order the
Defendant City of Miami to produce a records custodian only for the purpose of producing the
last known addresses for Defendants Avila, Calvar and Gonzalez. Therefore, Plaintiff is before
this Court requesting substituted service in a form reasonably calculated to advise the individual
Defendants of this lawsuit including but not limited to: (i) regular and certified mail at the last
know address, (ii) regular mail c/o of the City of Miami Police Department, (iii) regular service
upon the Chief of Police for the City of Miami, (iv) posting, (v) publication, (vi) other methods
as might be suggested by the Court.

As can be gleaned from the attached affidavits, the following are the reasons why
Defendants Avila, Calvar and Andreu have not been served:

Defendant Avila: This Defendant is simply evading service as five attempts at various
times have proved unsuccessful. Plaintiff has no information concerning and is unable to learn
of Defendant Avila’s home address.

Defendant Calvar: This Defendant has retired from the City of Miami police department
with no known forwarding address. Service was attempted at the Miami Police Department on
April 30, 2003. A possible address was found for Mr. Calvar (namely, 2611 SW 24" Street,
Miami, Florida), however, no one was found at home.

Defendant Gonzalez: This Defendant has been ‘relieved of duty’ pursuant to information
provided by the Miami Police Department and Plaintiff has no information regarding this

Defendant’s home address.
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As this Court is probably aware, police officers for good reason, do not publish or
otherwise make known their home addresses so if they cannot be served at work, personal service
cannot be accomplished.

Plaintiff's counsel spoke with City of Miami Attorney Hunnefeld concerning a solution to
this situation. The undersigned suggested the deposition of a records custodian for the City of
Miami, who, on an off-the-record basis could disclose home addresses or last known addresses of
the Defendants not served. Counsel for the City of Miami stated that pursuant to Florida Statute,
the record custodian for the City of Miami would not release such information.

It would seem that Defendant Calvar who is retired has pension checks sent somewhere
and that such information is readily available to the City of Miami and its Police Department.
Defendant Gonzalez who is supposedly on some sort of administrative leave is technically still
employed by the City of Miami and his address is easily obtainable. As to Defendant Avila, who
appears to be avoiding service, the Plaintiff would argue that substituted service in the form of
leaving a copy of the summons and complaint at his duty station with the person in charge might
be a possible means of service. The Plaintiff would certainly agree to any order to the effect that
information gathered for purposes of service of process not be put on any record or otherwise
made public in any way.

WHEREFORE, the Plaintiff respectfully requests this Court enter an order for substituted

service as such relates to individual Defendants Avila, Calvar and Gonzalez.
Case 1:03-cv-21063-CMA Document11 Entered on FLSD Docket 06/06/2003 Page 5 of 8

I HEREBY CERTIFY that a copy of the foregoing was mailed June 4, 2003, to City
Attorney for the City of Miami, attention Henry J. Hunnefeld, Esq., Assistant City Attorney, 945
Miami Riverside Center, 444 SW 2™ Avenue, Miami, FL 33130-1910, Ronald J. Cohen, P.A.,

Jose J. Arrojo, Esq., 8100 Oak Lane, Suite 403, Miami Lakes, FL 33016-5876.

JOHN J. HOFFMAN, P.L.
Attorney for Plaintiff

10194 Osprey Trace

West Palm Beach, FL 33412
(516) 775-0661 (Telephone)
(561) 493-8731 (Facsimile)
jjhesqp]@earthlink.net

 
    
    

John J. fman

FBN: 060473;
4

By:

 

Cara C.M rris
FBN: 0555991
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EXHIBIT 1

AFFIDAVIT OF SERVICE

State of Florida County of Southorn District of United States Distri Court

Case Number: 03-2 1063-CIV-HUCK

Plainuft:
DAVID ALLEN

vs.

Defendant:

CITY OF MIAMI. a Florida Municipal Corporation in Miami-Dade
County, State of Fiorida, wt.al,

For:

John Hoffman Esq.

JOHN J. FROFFMAN ESC.
10194 Osprey Trace

West Palm Beach, FL 35412

Received by KING'S INVESTIGATIVE SERVICES, INC. on the 30th day of April, 2003 at 10:53 am to be served on
LT. ISRAEL GONZALEZ Miam! Police Dept. 400 NW znd Ave, Miami, FI

1, Gurtis K.ng, being duly sworn, depose and say tnat on the 12th day of May, 2003 at 6:10 pm, I:

NON-SERVED: After due search, careful inquiry and d''igent attempts | wes unable to serve the SUMMONS IN A
CIVIL CASE, COMPLAINT ANDO JURY DEMAND (‘cr the reas. that | failed to find) was unable to obtain 4 correct
address for israel Gonzalez ar information to allow further search.

Additional Information pertaining ‘o thie Service:

Mr Israe! Gonzalez is on "Relief of duty" per Mani Police Department Internal Affairs, | checked with laterral Affairs
and was given @ phone number for Mr Gonzalez. When | called the number it rings io what appears to be a fax
machine.

| certify that | am over the age of 78, nave no interest in ine above action, and am a Certified Process Server. in
good standing. in the judicial circuit in whicn the process was served.

>

Subscribed and Sworn to before me on the 13th day of LAL i

 

 

May, 2003 by the affiant wno is pesonally known ta Curtis King C oo,
Sps #273 an
KING'S INVESTIGATIVE SERVICES, INC.
P.O. Box 1411
Boynton Beach, FL 33425-1411
(561) 547-4600

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Case 1:03-cv-21063-CMA Document11 Entered on FLSD Docket 06/06/2003 Page 7 of 8

AFFIDAVIT OF SERVICE

State of Florida County of Southern District of United States Distri Court

Case Number: 03-21063-CiV-HUCK

Plaintiff:

DAVID ALLEN

vs.

Defendant:

CITY OF MIAMI, a Floride Municipal Corporation in Miami-Dade
County, State of Florida, et.al,

For:

John Hoffman Esq.

JOHN J. HOFFMAN ESQ.
10194 Osprey Trace

West Palm Beach, FL 33412

Received by KING'S INVESTIGATIVE SERVICES. INC. on the 30th day of Apri! 2003 at 10 53 am to be served on
OFFICER CARLOS AVILA Miami Police Dept. 400 NW 2nd Ave, Miami, FI.

1, Curtis King, being duly sworn, depose and say thal on the 12th day of May, 2003 at 8:15 pm, |:

NON-SERVED: A‘ter due search, careful inquiry and diligent attempts | was unable to serve the SUMMONS INA
CIVIL CASE, COMPLAINT AND JURY DEMAND for the reason that | faied to find Mr. Aviia was never available at
work or information to allow further search.

Additional information pertaining to this Service:
| have made several! attempts to served Mr. Avila. at the Miami Police Dept. (Juvenila/Missiig Persons unit) and was
told each time Mr. Avila was not in. Here is a list of dates and times of my attempts. 5/1/03 - 4:25pm; 5/2/03.

1.62pm, §/6/03- 2 43pm; §/8/03- 2:35pm; 5/9/03- 11:52am.

i certify that } am over the age of 1B, have no interest in the above action, and am a Certified Process Server, in
good standing, in the judicial circuit in which the process was served

     

Subseribed and Sworn to before me on the 13th day of
May. 2003 oy the affiant who is personally known to Curtis King

Sps #273

KING'S INVESTIGATIVE SERVICES, INC.
P.O. Box 1411

Boynton Beach, FL 33428-1411

(561) 547-4600

 

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Case 1:03-cv-21063-CMA Document11 Entered on FLSD Docket 06/06/2003 Page 8 of 8

AFFIDAVIT OF SERVICE

State of Florida

Case Number. 03-21063-CIV-HUCK

Plainti*:
DAVID ALLEN

vs.
Defendant:

County of Southern District of

United States Distri Court

CITY OF MIAMI, a Florida Municipal Corporation in Mlami-Dade

County, State of Florida, et.al,

For:

John Hoffman Esa.

JOHN J. HOFFMAN ESQ.
10194 Osprey Trace

West Paim Beach, FL 33412

Received by KING'S INVESTIGATIVE SERVICES, INC. on the 30th day cf April, 2003 at 10°53 am to be Served on
OFFICER JACK CALVAR Miami Folice Dept. 460 NW 2nd Ave, Miami, Fi.

i, Curtig King being duly sworn, depose and say that on the 12th day of May, 2003 at 6:05 pm. |:

NON-SERVED: After due search, careful inquiry and diligent attempts ) was unable to serve the SUMMONS IN A
CIVIL CASE, COMPLAINT ANO JURY DEMANDfor the reason that ! failed {o find anyore at the residence or

information to allow further search.

Additional information pertaining to this Service:

Mr. Calvar has retired from tne Miami Police Dept. | have located a 2nd address (2611 SW 24th St Miami) for Mr
Calvar, but | am unable to pos'tively determine that t is his primary residence. | have made several altermpts to
execute service, but never fcund anyone at home Here's a list of attemps on Mr Jack Caivar. 5/2/03 at 5 25pm &
7.42pm, 5/06/03 at 1:10pm. 5/08/03 at 41:22am and 7:03pm, 5/09/03 a1 2.07pm

| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process Server, in
goed standing, in the judicial circuit in which the process was served.

Subscribed and Sworn to before me on the 13th day of
May, 2003 by the affiant who is personally known to
me.

  
 

 

 

NOTARY PUBLIC

My Conunisaton 00129807

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¥ PA expres he 08, 2000

     

Curtis King
Sps #273

KING’S INVESTIGATIVE SERVICES, INC.
P.O. Box 1411

Baynten Beach, FL 33425-1414

(581) 547-4600

Our Job Serial Number 2003000024
Ref: 0403

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